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    EXHIBIT A
                                                                KAREN
       Case: 4:23-cv-01895-BYP Doc #: 1-1 Filed: 09/28/23 2 of 20.    INFANTE
                                                                   PageID #: 5 ALLEN
                                                                           TRUMBULL CO CLERK OF COURTS
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                                                                           FILED: 08/24/2023 02:16 PM

               IN THE TRUMBULL COUNTY COMMON PLEAS COURT
                              WARREN, OHIO

Michael Haydu
438 N. Rhodes Avenue
Niles, Ohio 44446                                    CASE NO.

                      Plaintiff,
                                                     JUDGE:
-vs-

Revival Financial Solutions, LLC
17011 Beach Blvd.
Ste 510
Huntington Beach, CA 92647

and,

Alleviate Financial Solutions, LLC
4 Park Plaza
Ste 500
Irvine, CA 92614

and,

Guardian Litigation Group, PLLC
17922 Fitch, Ste 150
Irvine, CA 92614

                      Defendants.


                  COMPLAINT AND REQUEST FOR DECLARATORY
                         RELIEF AND JURY DEMAND

       Plaintiff MICHAEL HAYDU states the following claims for relief:

                                          Introduction
       The Fair Credit Reporting Act ("FCRA"), 15 U.S.C, Section 1681b(f) regulates the access

and use of consumer reports in order to protect consumer privacy. This case involves the illegal

use of and access to the private financial data in the consumer reports of likely tens of thousands

of financially distressed consumers. The information was accessed for the illegal purpose of
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marketing debt settlement and/or consolidation services. Defendants obtained lists of consumer

data, lists referred to as "pre-screened lists," including Plaintiff's. Defendants used the lists to

market debt settlement services.

       The pre-screened lists at issue are compiled by a consumer reporting agency using filters

including a base level of unsecured debt balances, a minimum level of unsecured trade lines, and

various other filters bearing on a consumer's credit worthiness. The pre-screened lists constitute

consumer reports that may only be accessed and used for a permissible purpose. See, 15 U.S. C.

Section 1681b(f); See, Trans Union v FTC, 245 F.3d 809 (U.S. App. D.C. 2001).

       The pre-screened lists at issue are compiled by a consumer reporting agency using filters

including a base level of unsecured debt balances, a minimum level of unsecured trade lines, and

various other filters bearing on a consumer's credit worthiness. The pre-screened lists constitute

consumer reports that may only be accessed and used for a permissible purpose. See, 15 U.S. C.

Section 1681b(f); See, Trans Union v FTC, 245 F.3d 809 (U.S. App. D.C. 2001).

       Accordingly, Plaintiff MICHAEL HAYDU brings this action to obtain monetary damages,

injunctive relief, attorneys' fees, his costs in this action and any other relief to which he may be

entitled to compensate him for Defendants' violations of the Fair Credit Reporting Act, 15 U.S.C,

§§1681, et seq., ("FCRA") the Ohio Consumer Sales Practices Act, Oh. Rev. Code §§1345.01 to

1345.99 ("OCSPA"), the Equal Credit Opportunity Act, 15 U.S.C §1691 ("ECOA"), fraud, and

civil conspiracy all of which were violated as part of a venture to advertise, promote and operate

a business of soliciting clients for debt settlement and credit repair.

                                      Jurisdiction and Venue

1.     This Court has venue to hear this case pursuant to Ohio Civ. R. 3(B)(3), in that some of the

transactions complained of, and out of which this action arose, occurred in Trumbull County, Ohio,
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where Plaintiff resides.

2.      The transactions and occurrences which give rise to this action occurred in Trumbull

County, Ohio.

3.      Venue is proper in the Trumbull County Common Pleas Court.

4.      Defendants regularly engage in business with, and direct business at, Ohio consumers and

have otherwise availed themselves of the Ohio marketplace and secured the benefits of that

marketplace. Such conduct includes, among other things, holding themselves out as debt

settlement and credit repair companies providing services to Ohio residents; directing business

solicitations into the State of Ohio, directed at indebted Ohio residents; seeking participation in

Defendants' debt settlement and credit repair programs; contracting in Ohio with Ohio consumers

for various services including debt settlement and credit repair; offering to perform and/or

performing activities for Ohio residents including debt settlement and credit repair functions.

5.       Specifically, all Defendants had actual knowledge or acted with reckless disregard as to

the deceptive nature of the mailing, the illegal nature of the data used in the mailing campaign at

issue, that a portion of the mailers were directed to Ohio consumers (including Exhibit A).

6.      All Defendants, acting in concert, conspired to illegally obtain protected consumer

reporting data and mail to tens of thousands of Ohioans the illegal solicitations at issue in this

Complaint, or substantially similar solicitations.

7.      All Defendants intentionally targeted thousands of Ohioans at their residential addresses

located in the State of Ohio and knew their conduct would injure these consumers in the State of

Ohio.

8.       Each Defendant played a significant and necessary role in the conspiracy described in this

Complaint.
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9.      This Court has jurisdiction over the parties and the subject matter of this action.

10.     The Plaintiff to this lawsuit is Michael Haydu ("Haydu"), who resides at 438 North Rhodes

Avenue, Niles, Ohio 44446 in Trumbull County, Ohio.

11.     The Defendants to this lawsuit are as follows:

        (a)        Revival Financial Solutions, LLC ("Revival") which is a California limited liability

        company doing business in Ohio and located at 17011 Beach Blvd., Ste 510, Huntington

        Beach, CA 92647 and whose statutory agent is ZenBusiness, Inc. who maintains an address

        at 5511 ParkcrestDrive, Suite 103, Austin, Texas 78731.

        (b)        Alleviate Financial Solutions, LLC ("Alleviate") which is a corporation doing

        business in Ohio and maintaining an address at 4 Park Plaza, Ste 1500, Irvine, CA 92614

        and whose statutory agent is CSC-Lawyers Incorporating Service who maintains an

        address at 2710 Gateway Oaks Drive, Sacramento, CA 95833.

        (c)        Guardian Litigation Group, PC which is a California professional corporation doing

        business in Ohio and located at 17922 Fitch, Ste 150, Irvine, CA 92614.

12.     For the purposes of this Complaint, unless otherwise indicated, "Defendant" or

"Defendants" includes all agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, and insurers of Defendants named

in this caption.

13.     Defendants, acting in concert with each other, unlawfully obtained Haydu's consumer

report and used it to illegally obtain information for the purpose of sending deceptive solicitations

for debt adjustment/debt settlement and credit repair services. Defendants have misused the

illegally obtained data of Plaintiff as well as likely tens of thousands of Ohioans.
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14.     As such, Plaintiff seeks damages for the harm caused by Defendants' unlawful acts and a

declaration that Defendants have acted unlawfully.

                                         Statement of Facts

15.     All named Defendants engaged in a scheme to obtain and use protected consumer

reporting data to market debt settlement and credit repair services via mailers directed to Haydu in

the State of Ohio.

16.     To that end, Revival, Alleviate and Guardian, through an authorized marketing agent

known as Decision Science, and with the knowledge and at the direction of both Defendants,

compiled or directed Decision Science to compile a "pre-screened list" containing the names and

addresses of consumers in financial distress.

17.     Revival, Alleviate and Guardian obtained and used these pre-screened lists containing the

names and addresses of consumers who met certain criteria such as minimum debt balances or

high interest rates, etc.; Haydu was on at least one of these lists.

18.     These lists are compiled by a consumer reporting agency using the filters supplied to the

consumer reporting agency by Defendants' marketing agent-Decision Science. Revival used the

direct marketing campaign, to obtain clients on behalf of Guardian Litigation Group, PC

("Guardian") and Alleviate. Both are debt settlement companies, not lenders.

19.     All Defendants engage in a debt settlement model that has come to be known as the

"attorney model." Debt settlement companies believe that if the debt settlement is being performed

by a law firm, the companies do not have to comply with various state laws designed to regulate

debt settlement companies.

20.     The lists used to market the "attorney model" debt settlement scheme constitutes consumer

reports under the FCRA.
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21.    Revival, Alleviate and Guardian then arranged for the preparation and mass mailing of

marketing letters to the consumers on the pre-screened lists obtained from the consumer reporting

agency.

22.    Haydu received one of the mailed solicitations, which is attached as Exhibit A and

incorporated herein.

23.    Defendants' representations on the mailer, and during the debt settlement pitch in response

to the mailer provides proof the mailer was populated with data from a consumer report. Some of

the relevant language is as follows:

          (a)     On the front of the mailer, Revival provides the standard prescreen and opt out

          language stating: "You can choose to stop receiving 'prescreened' offers of credit from this

          and other companies by calling toll-free 1-888-567-8688. See PRESCREEN & OPT-OUT

       NOTICE on the other side for more information about prescreened offers."

          (b)     Likewise, on the back of the mailer is the long version of the prescreen and opt-out

       notice, which is required to be placed in such a marketing piece when using prescreened

          lists or data.

          (c)     The mailer states Haydu is "pre-selected" and further indicates "[t]his 'prescreened'

          offer of credit is based on information in your credit report indicating that you meet certain

          criteria." However, in the small print disclosures, Revival conversely represents it has no

          control over participating lender creditworthiness eligibility criteria.

24.       On or about August 1, 2023, Haydu called the phone number listed on the mailed

solicitation to accept the purported firm offer of credit.
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25.    Haydu spoke with Nate Toral, ("Toral"), a representative of Revival, who pitched a debt

settlement program on behalf of Alleviate and Guardian, which are both debt settlement companies

that do not engage in making loans.

26.    Toral, in his capacity as a Revival representative, and his co-conspirators, never intended

to make a loan to Haydu based on the mailed solicitation.

27.    The sole marketing purpose of the mailer was to trick Haydu into calling in an attempt to

obtain a loan, only to then market a debt settlement program on behalf of Alleviate and Guardian.

28.    Alleviate partners with Guardian Litigation Group to perform an "attorney model" debt

settlement program.

29.     Revival, Alleviate and Guardian partnered to advertise a consolidation loan through a

direct marketing campaign in order to entice Haydu to call on the solicitation, but instead marketed

debt adjustment or debt settlement products and services. This is the classic and illegal "bait and

switch" method of marketing.

30.    Revival, Alleviate and Guardian never intended to offer a loan to Haydu. The solicitation

itself was a guise to obtain a targeted list from a consumer reporting agency as it is unlawful to

obtain consumer reports for the purpose of marketing debt settlement services.

31.    Revival and its co-conspirator Alleviate and Guardian could not legally lend Haydu the

loan as advertised in the purported firm offer of credit as neither have lending licenses in Ohio that

would permit them to do so.

32.    Revival also indicates within its mailed solicitation that it has no control over the

participating lender's creditworthiness eligibility criteria. However, the FCRA defines a "firm

offer of credit" as "any offer of credit or insurance to a consumer that will honored if the consumer

is determined, based on information in a consumer report on the consumer, to meet the specific
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criteria used to select the consumer for the offer." Defendants' mailer did not meet the definition

of a "firm offer of credit" in that it had no pre-established lending criteria and mentions this

multiple times in its solicitation.

33.        Alleviate and Guardian likewise do not offer loans.

34.        It is unlikely that Defendants made any attempt to obtain a loan on behalf of Haydu as

Haydu did not receive any notifications from any lenders, including but not limited to, an adverse

action letter.

35.        All Defendants are necessary components of this conspuacy - Revival obtained the

prescreened lists through its marketing agent Decision Science and arranged for the mailing

campaign. Revival is in a unique position to obtain prescreened lists as it is in the lending industry.

However, Revival knew when it partnered with Alleviate and Guardian that the prescreened lists

it obtained from consumer reporting agencies would be used to market debt settlement, and not to

make a firm offer of credit. Alleviate and Guardian had full knowledge of this scheme as well and

were willing co-conspirators motivated obtaining new debt settlement clients, and in turn, larger

profits.

36.        All Defendants knew, or should have known, that the data used in the marketing originated

at a consumer reporting agency.

37.        All Defendants knew the solicitation, as it exists and as it is described by Revival, was not

a firm offer of credit, and that Defendants did not have the intent to honor the loan terms as offered

in the mailer.

38.        Obtaining and using a consumer report for marketing is an impermissible purpose in

violation of the FCRA, 15 U.S.C. § 1681b(f).
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39.     Plaintiff did not authorize Defendants to access his consumer report information prior to

the mailer being sent to him.

40.     Defendants are responsible for any of the actions of its agents under the doctrine of

respondeat superior.

                                          COUNT ONE
                           Violation of the Fair Credit Reporting Act
                           Willful Noncompliance, 15 U.S.C. § 1681n

41.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing paragraphs.

42.     Plaintiff is a "consumer" as defined by the FCRA, 15 U.S.C. § 1681a(c).

43.     Defendants, alone or through a marketing agent, obtained information and data on

Plaintiff's credit worthiness, credit standing, credit capacity, character, general reputation,

personal characteristics, or mode of living from a "consumer reporting agency" as defined by the

FCRA, 15 U.S.C. §1681a(f).

44.     The marketing agent then disclosed Plaintiff's most private consumer reporting data to

Defendants in order to use in Defendants' marketing campaign.

45.     All Defendants illegally accessed Plaintiff's consumer report for the purposes of marketing

a debt settlement program, and all Defendants knew Haydu, and any reasonable person, would be

harmed by this invasion of privacy.

46.     The information is therefore a "consumer report" as defined by the FCRA, 15 U.S.C.

§ 1681a(d).

47.     Defendants willfully obtained and used Plaintiff's consumer reports without a permissible

purpose in violation of 15 U.S.C. §§ 1681b and 1681n.

48.     Defendants willfully obtained and used Plaintiff's consumer reports to utilize the

information for marketing debt settlement services. Under section 607 of the Fair Credit Reporting
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Act, it is clearly stated that the purpose for which a consumer report is sought must be certified,

and that it must be further certified that the information will be used for no other purpose 15 U.S.C.

§ 1681e.

49.     Obtaining and using a consumer report for marketing is an impermissible purpose in

violation of the FCRA, 15 U.S.C. § 1681b(f).

50.     Due to Defendants' conduct, Plaintiff has suffered actual damages by Defendants' invasion

of his privacy, including, but not limited to, mental and emotional hardship, physical, mental and

emotional stress, anxiety, monetary damages and embarrassment upon learning that his most

private financial data had been accessed and reviewed by companies and individuals that had no

right to such information.

                                          COUNT TWO
                           Violation of the Fair Credit Reporting Act
                          Negligent Noncompliance, 15 U.S.C. § 16810

51.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing paragraphs.

52.     Defendants negligently obtained and used Plaintiff's consumer reports without a

permissible purpose in violation of 15 U.S.C. §§ 1681b and 16810.

53.     The information obtained is a "consumer report" as defined by the FCRA, 15 U.S.C.

§ 1681a(d).

54.     Defendants negligently obtained and used Plaintiff's consumer report without a

permissible purpose in violation of 15 U.S.C. §§ 1681b and 16810.

55.     Due to Defendants' conduct, Plaintiff has suffered actual damages by Defendants' invasion

of his privacy, including, but not limited to, mental and emotional hardship, physical, mental and

emotional stress, anxiety, monetary damages, and embarrassment upon learning that his most

private financial data had been accessed and reviewed by companies and individuals that had no
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right to such information.

                                          COUNT THREE
                             Violation of the Fair Credit Reporting Act
                                 False Pretenses--15 U.S.C. § 1681g

56.     Plaintiff repeats, realleges, and incorporates by reference, as though set forth herein, the

prior paragraphs of this Complaint.

57.     Defendants accessed Plaintiff's consumer reports under false pretenses.

58.     Defendants violated the FCRA by knowingly and willfully procuring information on

Plaintiff under false pretenses, 15 U.S.C. § 1681q.

59.     15 U.S.C. § 1681q has a private cause of action under 15 U.S.C. § 1681n.

60.     All Defendants acted knowingly and willfully. Defendants' willful conduct is illustrated

by the following:

        (a)    The FCRA was enacted in 1970; Defendants have had over 50 years to become

        compliant;

        (b)    Defendants violated a clear statutory mandate set forth in 15 U.S.C. § 1681q;

        (c)    All Defendants knew that they had no intention of, making a firm offer of credit.

        Similarly, the individual Defendants knew the consumers responding to the mailers had no

        business relationship with Defendants, were not being offered a credit transaction, but

        instead were being offered debt settlement services.

        (d)    Defendants systematically procured consumer information without permissible

        purposes despite myriad statutory text and guidance.

        (e)    By adopting such a policy and practice, Defendants voluntarily ran a risk of

        violating the law substantially greater than the risk associated with a reading that was

        merely careless.
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61.     Plaintiff is entitled to Statutory damages of not less than $100 and not more than

$1,000 for each and every one of these violations, pursuant to 15 U.S.C. § 1681n(a)(l)(A).

Plaintiff is also entitled to punitive damages for these violations, pursuant to 15 U.S.C. §

1681n(a)(2). Plaintiff is further entitled to recover his costs and attorneys' fees, pursuant to 15

U.S.C. § 1681n(a)(3).

                                        COUNTFOUR
                     Violations of the Ohio Consumer Sales Practices Act

62.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing paragraphs.

63.     The interactions between Plaintiff and Defendants were a "consumer transaction" as

defined by R.C. § 1345.0l(A) as Defendants solicited a service to Plaintiff, an individual, for

purposes that are primarily personal, family or household. Defendants did this by mailing Plaintiff

a solicitation to procure their business. The purpose of the mailed solicitation was personal in

nature and Defendants solicited Plaintiff to provide him services for his personal debt in exchange

for various fees.

64.     The mailers sent to Plaintiff as well as the ensuing telephone sales pitch for debt settlement

services were riddled with deceptive and fraudulent representations.

65.     Defendants are "suppliers" as defined by R.C. § 1345.0l(C) as it engaged Plaintiff in the

soliciting of a consumer transaction by attempting to procure Plaintiff's business by sending him

mailed solicitations in an attempt to provide Plaintiff with debt adjustment/debt settlement services

in exchange for various fees.

66.     Plaintiff is a "consumer" as defined by R.C. § 1345.0l(D) as he engaged in consumer

transactions with Defendants, a supplier. Defendants solicited Plaintiff via the mailer attached as

Exhibit A to this Complaint and invited them to call.
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67.     All parties are a "person" as defined by R.C. §1345.01. A person includes an individual,

corporation, government, governmental subdivision or agency, business trust, estate, trust,

partnership, association, cooperative, or other legal entity. Plaintiff is a person and Defendants, a

legal entity, is also a person.

68.     Defendants committed material unfair, deceptive, and/or unconscionable acts and practices

in connection with a consumer transaction, primarily for personal, family or household purposes,

in violation of the Ohio Consumer Sales Practices Act, including, but not limited to:

        (a)     Making false or misleading statements to induce a purchaser to pay for services in

        violation of R.C. § 1345.02(A).

        (b)     Knowing of the inability of the consumer to receive a substantial benefit from the

        subject of the consumer transaction.

        (c)     Using a sales presentation which makes the material facts of the offer misleading

        or conveys or permits an erroneous impression as to the services offered for sale.

        (d)     Defendants violated O.A.C. 109:4-3-03(B)(2) and engaged in deceptive acts or

        practices in connection with a consumer transaction because the first contact it had with

        Haydu was secured by through deception when Defendants sent a misleading letter to

        Plaintiff.

        (e)     Defendants violated O.A.C. 109:4-3-IO(A) and engaged in deceptive acts or

        practices in connection with a consumer transaction because Defendants made

        representations, claims, or assertions of fact about the status of Plaintiff's debt balances,

        monthly payments, interest rates and high balance revolving debt in an effort to convince

        a reasonable consumer to call immediately and retain Defendants' services.
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69.     Plaintiff was in fact deceived by the alleged violations and as a result of the preceding

violations by Defendants, Plaintiff has suffered injury in the form of mental and emotional

hardship, physical, mental and emotional stress, anxiety, embarrassment and monetary damages

caused by the deceptions in the mailers previously described in this Complaint.

                                          COUNT FIVE
                                            Fraud

70.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing paragraphs.

71.     Fraudulent conduct has been specifically alleged throughout this Complaint and

incorporated into Count Five by reference. Plaintiff specifically relied on the aforementioned

representations, misrepresentations, non-disclosures and implied representations when making the

determination whether to contact Revival and provide Revival and its coconspirators with access

to his consumer reports and other private financial data.

72.     The Defendants' entire scheme is to mislead. It misled the consumer reporting agency by

obtaining protected FCRA data under false pretense, and it misled Haydu by tricking him into

calling and disclosing additional data under the false pretense of offering a consolidation loan.

73.     Specifically, Haydu relied on all representations in Exhibit A in deciding to call Revival.

These representations include, but are not limited to, the fact that he was invited to apply for a

consolidation loan, when, in fact, Defendants were only interested in marketing debt settlement

services.

74.     The Defendants' representations concerning the work it claimed it would perform were

made falsely, with knowledge of their falsity, or with such utter disregard and recklessness as to

whether the representations were true or false that knowledge may be inferred.

75.     The representations were made with the intent of misleading Plaintiff into relying upon

them so Defendants could obtain money from Plaintiff, as well as access to his consumer report.
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76.        Plaintiff was justified in relying upon the Defendants' representations. Plaintiff has been

injured by the wrongful and fraudulent conduct of Defendants and has been damaged in an amount

to be established at trial, as well as entitled to punitive damages in an amount to be established at

trial.

                                             COUNT SIX
                                            Civil Conspiracy

77.        Plaintiff repeats, realleges, and incorporates by reference all of the foregoing paragraphs.

78.        Revival conspired with Alleviate and Guardian to illegally obtain and use data protected

by the FCRA. The Defendants committed further crimes when they conspired to use the illegal

data in a deceptive fashion. All Defendants knew the marketing scheme was both criminally and

civilly illegal and they were joint actors and conspirators in the illegal marketing scheme.

79.        The combined acts of Defendants have resulted in damages to Plaintiff in the form of an

invasion of privacy and the emotional damages resulting from such an invasion.

80.        The combination of Defendants' actions and conduct as alleged herein constitute a civil

conspiracy by way of an unlawful act independent of the conspiracy, namely fraud and the

criminally illegal acts in violation of both the FCRA and the OCSPA resulting in an invasion of

pnvacy.

                                           COUNT SEVEN
                           Violations of the Equal Credit Opportunity Act

81.        While Plaintiff does not believe Defendants intended to offer a loan, should Defendants

demonstrate they did make a firm offer of credit that was then denied for permissible reasons as

outlined in the FCRA, then it violated the Equal Credit Opportunity Act.

82.        Defendants are a "creditor" as defined in 15 U.S.C. § 1691a(e) as it extended credit to

Haydu via mail; Defendants regularly extend credit and make credit decisions, including rejecting
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customer credit applications.

83.       Haydu is an "applicant" as defined in 15 U.S.C. § 1691a(e) as he applied directly to

Revival, Alleviate and Guardian via telephone following the pre-approved offer that arrived in the

mail.

84.       Revival and/or its partners Alleviate and Guardian failed to issue an adverse action notice

following the denial of credit to Haydu within 30 days of the denial as stated in Reg. B 12 C.F.R.§

202.9(a)(l )(i).

85.       The foregoing acts and omissions of Defendants constitute a violation of the ECOA.

86.       As a result of Defendants' violation of 15 U.S.C §1691 et seq., Haydu is entitled to an

award ofup to $10,000.00 in punitive damages for each violation pursuant to 15 U.S.C §1691.

87.       Haydu is also entitled to and seeks injunctive relief prohibiting such conduct in the future.

                                           Prayer for Relief

ACCORDINGLY, Mr. Haydu requests this Court grant any or all of the following relief:

             a. Actual damages for items including emotional distress, mental anguish,

                   frustration, humiliation, and embarrassment.

             b. Statutory damages in an amount to be determined at trial.

             c. Punitive damages in an amount to be determined at trial.

             d. Costs and attorney fees as provided by statute.

             e. Declaratory and injunctive relief as appropriate.

             f.    Any other relief the Court deems just.
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                                        Respectfully submitted:


                                        Isl Jeremiah E. Heck
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                                        Email: brian@garvinelaw.com
                                        Attorney for Plaintiff




                           DEMAND FOR JURY TRIAL

  Please take notice that Plaintiff, Michael Haydu, demands trial by jury in this action.



                                        ls/Jeremiah E. Heck
                                        Jeremiah E. Heck (0076742)
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                                                                                                                  Michael,

                                                                                                 You are pre-selected for BIG SAVINGSI
                   FINANCIAL SOLU TIONS
                                                                                                   mlchaalhaydu.myrevivalloan .com

                                                                                                              Personal Code:
                                                                                                                 PPP7MJ

          TO Michael Haydu
        OR~! 438 N Rhodes Ave
          OF Niles, OH 44446-3824
                  ,,,,,,,,,,,,,,.,,,,.,.,,,.,,,,,,,,,,,,,,,,.,,,,,,,,.,,,,,.,,,.,,,
                                                                                              Want to be debt-free7 Call 8 7 7 709 •8166 now.
                                                                                                                                       3 m ! Sunday - closed
                                                                                          Monday. Friday 7 am to 6 pm I Saturdays am to P - ~ - - - ~ - ~



                                                                          Michael,
                    SAMPLE LOAN
                      AMOUNT:                                            It's time to breathe new life into your finances! You have been pre-
                                                                         selected for a personal loan through Revival Financial Solutions.

             $20,000.00                                                  In troubling and turbulent times, it is important to take control of the
                                                                         aspects of life within your grasp. We're here to help.

                                                                         Your world shouldn't revolve around high-interest rates. Call
               MONTHLY PAYMENT                                           Revival and kick the revolving cycle of high interest debt.
                 48 Month Term
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                                                                        Sincerely,
                                                                        Loans Department
                                                                        Revival Financial Solutions


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          You can choose to stop receiving "prescreened" offers of credit from this and other companies by calling to/I-free 1-888-
          567-8688. See PRESCREEN & OPT-OUT NOTICE on the other side for more information about prescreened offers.
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